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                            United States District Court
                            Eastern District of Kentucky
                             Southern Division at London

      UNITED STATES OF AMERICA               )   London Criminal
                                             )   Action No. 07-13-SSS
        vs.                                  )
                                             )   London, Kentucky
      GEORGE CLARK                           )   September 15, 2008
                                             )   9:00 a.m.
                                             )




                             TRANSCRIPT OF SENTENCING
                       BEFORE THE HONORABLE DANNY C. REEVES



      Appearances of Counsel:
      On behalf of the United States:            ROGER WEST, ESQ.
                                                 Assistant U.S. Attorney
                                                 260 West Vine Street
                                                 Suite 300
                                                 Lexington, Kentucky 40507

      On behalf of the Defendant:                DAVID S. HOSKINS, ESQ.
                                                 107 East First Street
                                                 Corbin, Kentucky 40701

      Court Reporter:                            CYNTHIA A. OAKES, CRR
                                                 Official Court Reporter
                                                 United States District Court
                                                 560 Athens Boonesboro Road
                                                 Winchester, Kentucky 40391
                                                 (859) 983-4346




      Proceedings recorded by mechanical stenography,
      transcript produced by computer.
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  1               THE COURT: Thank you.
  2               Madam Clerk, if you could call the matter scheduled
  3 for 9:00, please.
  4               THE CLERK: Yes, Your Honor. London Criminal
  5 No. 07-13-SS, United States of America v. George Clark.
  6               THE COURT: If counsel could state their appearances
  7 for the record, please.
  8               MR. WEST: Yes, Your Honor. Good morning, Roger West
  9 on behalf of the United States.
 10               THE COURT: Thank you, Mr. West.
 11               MR. WEST: Certainly.
 12               THE COURT: Mr. Hoskins.
 13               MR. HOSKINS: David Hoskins for the defendant, George
 14 Clark.
 15               THE COURT: Thank you. And this is Mr. Clark that's
 16 at counsel table.
 17               MR. HOSKINS: Yes, Your Honor.
 18               THE COURT: Thank you.
 19               This matter is scheduled for a sentencing hearing this
 20 morning. Before we proceed with the sentencing hearing, let me
 21 first confirm that Mr. Clark has received a copy of his
 22 presentence report and that he's had the opportunity to discuss
 23 the report with his counsel.
 24               MR. HOSKINS: Your Honor, Mr. Clark has received a
 25 copy of the original report. There were a couple of minor
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  1 changes that were made --
  2               THE COURT: All right.
  3               MR. HOSKINS: -- pursuant to my conversation with
  4 Mr. Mills and the probation office. Because of problems with my
  5 office computer system, I was unable to get a copy printed to
  6 get to Mr. Clark, but I have apprised him of those changes that
  7 have no effect on the guidelines.
  8               THE COURT: All right. Are the parties ready to
  9 proceed in that event?
 10               MR. HOSKINS: Yes, Your Honor.
 11               THE COURT: Thank you.
 12               Well, in just a moment, I will review the guideline
 13 calculations with the parties. Before I do so, let me remind
 14 the attorneys that if there are any additional factors that you
 15 would like to call to my attention that are relevant to
 16 sentencing under Title 18, Section 3553, please do so during
 17 allocution in the case.
 18               With respect to the guideline calculations and
 19 inasmuch there are no objections to the presentence report, I
 20 will adopt the findings, as well as the calculations that I will
 21 review with the parties at this time.
 22               With respect to the offense level calculations,
 23 because of the grouping that takes place, the Hobbs Act
 24 violation, Count 1, is broken down into the separate robbery
 25 charges, and then the Court looks at the higher adjusted offense
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  1 level for each of those robbery charges, and that becomes the
  2 offense level for Count 1. And Count 1 is then grouped with the
  3 possession and intent to distribute charges, Counts 2, 4, 6, 8,
  4 10, 12, and 14.
  5               The higher offense level for Count 1 is a level 29.
  6 The adjusted offense level for the possession and attempt to
  7 distribute charges is a level 20. And then, as indicated in
  8 paragraph 211, Count 1 is grouped with those counts, and the
  9 Court then would apply the count with the higher offense level.
 10               And then, in addition, the possession of firearms
 11 charges, Counts 16, 17, 18, and 19, are grouped separately, and
 12 the adjusted offense level for those counts would be a level 38.
 13               Next, the possession of forged certificate of
 14 discharge forms are grouped together, Counts 20 and 21, and the
 15 offense level for those two counts would be a level 6, and
 16 that's the adjusted offense level.
 17               And then there's the multiple count adjustment that
 18 takes place under 3D1.4, and that results in a grouping of those
 19 counts together, and, again, the Court applies the higher of the
 20 offense levels, which would be the offense level for the
 21 possession of firearms by a convicted felon grouping of 38.
 22               Now, there is one typographical error contained in
 23 paragraph 235 that I will note for the record, which indicates
 24 combined adjusted offense level of 40. Actually it's a 38, and
 25 that's what's indicated in the right-hand column of a 38. And
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  1 as indicated in paragraph 236, the defendant is an armed career
  2 criminal under 4B1.4, and as a result of all those calculations,
  3 the adjusted offense level for those counts would be a level 38.
  4               The Court then has to consider the separate statutory
  5 penalties that have mandatory minimums attached for brandishing
  6 of a firearm during and in relation to a drug trafficking crime.
  7 The first count would require seven years consecutive. The
  8 other counts, Counts 5, 7, 9, 11, 13, and 15, would each carry a
  9 25-year mandatory minimum to be imposed, again consecutive to
 10 any other term of imprisonment.
 11               And those are the offense level calculations. The
 12 defendant's criminal history is contained in the report as well
 13 beginning at paragraph 241, and as indicated in paragraph 249,
 14 the defendant has nine criminal history points, which would
 15 establish Criminal History Category IV for sentencing purposes.
 16               There is additional information concerning other
 17 charges against the defendant that have been dismissed. The
 18 Court has also considered the personal and the offender
 19 characteristics contained in -- beginning in paragraphs 261 and
 20 thereafter.
 21               I'll also call to your attention that the maximum
 22 statutory penalty under Count 1, as set forth in paragraph 277,
 23 is a term of 20 years, Counts 2, 4, 6, 8, 10, 12, and 14, the
 24 maximum term is 20 years, and Counts 16, 17, 18, 19, the minimum
 25 term of imprisonment is 15 years as to those charges, and the
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  1 maximum term under Counts 20 and 21 would be a term of one year.
  2               And then as indicated in paragraphs 281 through 283,
  3 there are the additional mandatory minimums that the Court must
  4 apply in the case.
  5               Finally, as set forth in paragraph 283, based on the
  6 total offense level of 38 and the defendant's Criminal History
  7 Category of IV, the guideline range for the counts that were
  8 grouped is a range of 324 to 425 months under Section 2K2.4(b),
  9 and then, of course, the Court has to apply the mandatory
 10 minimum terms under Count 3 of seven years; Count 5, 7, 9, 11,
 11 13, and 15 of 25 years each.
 12               PROBATION OFFICER: Your Honor?
 13               THE COURT: Yes, sir.
 14               PROBATION OFFICER: There's a typographical error in
 15 paragraph 283. The top of the guideline range there should be
 16 405 months.
 17               THE COURT: 405, yes. That's correct. I do note that
 18 change for the record. 324 to 405.
 19               Now, those are the relevant guideline calculations.
 20 Also, the fine calculations are contained in the report. And as
 21 reflected in paragraph 300, the fine range for the offense is a
 22 range of 25,000 to $7 million. And I will note - and the
 23 parties may wish to address this - that the defendant failed to
 24 provide any information to the probation office to make a
 25 determination as to the fine, and so the Court would likely
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  1 impose a fine, at a minimum, at the bottom of the guideline
  2 range based upon the failure to provide that information and to
  3 establish that he's not able to pay a fine.
  4               And those are the relevant calculations that the Court
  5 has adopted. Are there any motions to be taken up before we
  6 proceed with allocution in the case?
  7               MR. WEST: Yes, Your Honor. We would move to dismiss
  8 the underlying indictments in this matter, the three underlying,
  9 please.
 10               THE COURT: All right. I believe this was the third
 11 superseding indictment?
 12               MR. WEST: It was, Your Honor.
 13               THE COURT: So all prior indictments naming the
 14 defendant will be dismissed as to this defendant.
 15               Any other motions, Mr. West?
 16               MR. WEST: No, Your Honor.
 17               THE COURT: Mr. Hoskins, any motions?
 18               MR. HOSKINS: Your Honor, I don't have any motions
 19 that I have filed. I have made the Court aware this morning
 20 that Mr. Clark has asked me to ask the Court to recuse based on
 21 possibility of bias arising from an alleged plot that Mr. Clark
 22 is alleged to have been involved in involving injury to the
 23 Court.
 24               THE COURT: And I wasn't aware of that. I wasn't
 25 aware that he was plotting to kill me. That comes as a surprise
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  1 to me. But, of course, if that is in the process, then the
  2 Court, as it always does, would refer those matters to the
  3 Marshal or to the FBI for investigation. So the motion for
  4 recusal would be denied at this time.
  5               And, of course, Mr. West, if you would please advise
  6 the appropriate officials of this alleged plot so that it can be
  7 investigated, I would appreciate that.
  8               MR. WEST: I would, sir. And I'm aware of some of the
  9 circumstances of the previous investigation, and this Court was
 10 not mentioned as a target. Agents were mentioned as a target if
 11 Mr. Clark were to escape, but there was no mention of this
 12 Court.
 13               THE COURT: All right. Thank you.
 14               Mr. Hoskins, thank you for bringing that to my
 15 attention. That's always good to know. Any other motions,
 16 Mr. Hoskins?
 17               MR. HOSKINS: No, Your Honor.
 18               THE COURT: Thank you. If not, we will proceed with
 19 allocution in the case, and, Mr. Hoskins, I'll hear from you
 20 first and also from Mr. Clark if he would like to address the
 21 Court.
 22               MR. HOSKINS: Thank you, Your Honor. I don't believe,
 23 based on the mandatory minimums that are going to apply in this
 24 case, that there's really much discretion that the Court has in
 25 this matter and nothing that I can say to assist the Court.
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  1               THE COURT: All right. Thank you. Would Mr. Clark
  2 like to address the Court?
  3               THE DEFENDANT: I'm innocent, sir. It doesn't matter
  4 what I get.
  5               THE COURT: All right. Mr. West.
  6               MR. WEST: Yes, Your Honor, just briefly. As the
  7 Court is aware of, having sat through this trial and numerous
  8 pleas from the co-defendants, I think in looking at Mr. Clark's
  9 criminal history, the four prior state convictions and the
 10 progression of the 924(c) counts in this matter that it was a
 11 progression of violence. The last two sets involving the small
 12 child and the victim being head-butted in the face and a shot
 13 fired, I think the next one would have resulted in a killing.
 14 You can see the pattern there.
 15               Mr. Clark's activities in this case has eroded the
 16 community's support and respect for local law enforcement. The
 17 UNITE and KSP execute numerous search warrants across the
 18 southeastern portion of Kentucky. It places these officers in
 19 danger when they execute some of these search warrants because
 20 perhaps that person inside is going to question whether or not
 21 they are true, in fact, law enforcement.
 22               Mr. Clark's conduct in this case is he's made numerous
 23 attempts, and I don't need to go through them all, to fabricate
 24 evidence, to avoid responsibility, to trump up charges against
 25 some of the investigators in this matter. He has shown nothing
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   1 but destain for the law in this matter. He learned nothing from
   2 his previous conduct.
   3              I have stood before this Court on two previous cases
   4 where sentences were of this nature, Mr. Mann and Ms. Arnold,
   5 and this Court made no hesitation about imposing a maximum
   6 sentence. In this matter, we ask this Court to impose the
   7 maximum sentence. And to the extent possible, we would ask for
   8 a specific designation within' the Bureau of Prisons. We'd ask
   9 that Mr. Clark be designated to the super max facility in
 10 Florence, Colorado, Your Honor.
 11               THE COURT: All right. Thank you, Mr. West.
 12               Of course, in sentencing a defendant, the Court has to
 13 look at the specific defendant that is being sentenced. This
 14 isn't a cookie cutter operation, the Court has to consider all
 15 of the factors. And, of course, there are some limitations
 16 imposed, statutory limitations imposed in cases such as this
 17 that have mandatory minimums. And this Court, on other
 18 occasions, has considered whether stacking mandatory minimums
 19 would constitute violation of the Constitution, either the
 20 Eighth Amendment or some other section, and the Sixth Circuit
 21 has addressed the issue and has determined that it would not
 22 constitute such a violation. And in this particular case, the
 23 facts certainly would support the Court finding that there would
 24 not be a violation under the facts of this particular case.
 25 When we look at the facts, they are truly egregious.
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   1              Of course, the defendant has maintained his innocence
   2 throughout the course of this proceeding. He has taken certain
   3 actions to -- whether they be escape or whether they be false or
   4 fraudulent charges against officers, he has pulled out all the
   5 stops, so to speak, but the evidence in the case against him
   6 certainly was overwhelming. He was well represented by counsel
   7 in this matter, but the jury, I believe, certainly reached the
   8 correct conclusion in the case that he was guilty of all charges
   9 that were brought against him.
 10               The Court, in considering the sentence to be imposed,
 11 must take into account what is sufficient but what is not
 12 greater than necessary to serve the statutory purposes. And in
 13 this particular case, the Court does believe that he would not
 14 be overly punished by what effectively amounts to a life term in
 15 a case such as this. When I consider the history and the
 16 characteristics of the defendant, he has continued in his
 17 criminal behavior, as shown from his criminal history and as
 18 shown throughout the course of this trial. Also, the nature and
 19 the circumstances of these particular offenses were egregious,
 20 as outlined by Mr. West. Breaking into people's homes in the
 21 dark of night and robbing folks, even if the defendant believes
 22 that they possessed properly or improperly prescription
 23 medications, even if the Court were to attribute good motives to
 24 him, which I don't, but even if I did that, then there's no
 25 place for this type of vigilante justice in this state or in
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   1 this country.
   2              This defendant terrorized a community, terrorized
   3 families, and he may feel good about that, but, of course, the
   4 Court does not feel good about that. The Court has to consider
   5 the need for the sentence imposed to reflect the seriousness of
   6 the offense, and as I indicated, these are serious offenses, and
   7 also the need to promote respect for the law, which this
   8 defendant has not shown that he has any respect for the law by
   9 his conduct in the case and the conduct of his co-defendant and
 10 wife in the case.
 11               The Court also feels that it should consider the need
 12 to provide a just punishment for the offenses that were
 13 committed by this defendant. And along those lines, the Court
 14 would believe that in order to impose a just punishment, it
 15 would need to run all of the terms consecutive in the case but
 16 will not do so. But that certainly is something that would be
 17 necessary to provide a just punishment in the case.
 18               The next factor the Court considers is what's
 19 necessary to deter conduct, and the Court believes that there's
 20 no sentence that could be imposed in the case that would deter
 21 the conduct of this defendant, but perhaps the sentence that
 22 will be imposed will deter the conduct of others that might be
 23 inclined to commit these type of offenses.
 24               The term to be imposed in the case upon Mr. Clark as a
 25 term of imprisonment will protect the public, because by
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   1 incarcerating him effectively for life, he will be hopefully
   2 taken away from the public and prevented from doing much more
   3 damage to the public.
   4              Finally, in addition to all of the other factors that
   5 I have considered, I will consider the need to avoid unwarranted
   6 sentencing disparities, and, of course, that's a national factor
   7 for the Court to consider. And, again, in these type of cases,
   8 several courts have found that it is appropriate to impose
   9 consecutive terms for these gun charges that Mr. Clark has been
 10 convicted of.
 11               So, again, the defendant has repeatedly obstructed the
 12 investigation and the prosecution of the offense, aided by his
 13 wife. He's made clear attempts to be illegitimately released
 14 from state custody. Of course, that was brought out during the
 15 trial of this case. And during the course of this trial, while
 16 he was being subject to a psychological evaluation, he was
 17 charged with an attempted escape or with possession of
 18 contraband which may be used for an escape.
 19               The Court also believes that he perjured himself when
 20 he testified in the case and basically took the position that he
 21 is taking now, that he's not guilty of any of the offenses and
 22 denied all of his wrongful conduct. Of course, he made those
 23 statements under oath in an attempt to convince the jury that he
 24 was not guilty, and, in doing so, he, again, perjured himself.
 25               In short, the defendant is a dangerous, violent felon
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   1 who is a threat to society, and in reviewing the presentence
   2 report, I cannot find any redeeming qualities that he has.
   3              So for those reasons I will announce the following
   4 sentence of the Court, and it will be the sentence of the Court,
   5 pursuant to the Sentencing Reform Act of 1984, as amended by the
   6 decisions in Booker and Fanfan, and I do believe the following
   7 sentence is sufficient but not greater than necessary to comply
   8 with the purposes of Title 18, Section 3553(a)(2).
   9              Accordingly, it will be the judgment of the Court that
 10 the defendant, George A. Clark, will be committed to the custody
 11 of the Bureau of Prisons to be imprisoned for a term of 205
 12 months on each of Counts 1, 2, 4, 6, 8, 10, 12, and 14, to be
 13 served concurrently, and a term of 12 months on each of Counts
 14 20 and 21, to be served concurrently and with each other. And
 15 with the aforementioned terms, also a term of 180 months on each
 16 of Counts 16 through 19, concurrent with each other but
 17 consecutive to the aforementioned terms. A term of 84 months on
 18 Count 3, to be served consecutive to the aforementioned terms,
 19 and terms of 300 months on Counts 5, Count 7, 9, 11, 13, and 15,
 20 to be served consecutive to the aforementioned terms and
 21 consecutive to each other, for a total term of imprisonment of
 22 2,269 months.
 23               Upon release from imprisonment, the defendant will be
 24 placed on supervised release for a term of five years, and that
 25 term consists of terms of three years on each of Counts 1, 2, 4,
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   1 6, 8, 10, 12, and 14; terms of five years on each of Counts 3,
   2 5, 7, 9, 11, 13, and 15 through 19; and terms of one year on
   3 each of Counts 20 and 21, with all those terms to run
   4 concurrently.
   5              Within 72 hours of release from the custody of the
   6 Bureau of Prisons, the defendant shall report in person to the
   7 probation office in the district in which the defendant is
   8 released.
   9              And while on supervised release, the defendant shall
 10 not commit another federal, state, or local crime, shall comply
 11 with the standard conditions that have been adopted by the
 12 Court, as well as the following additional conditions:
 13               He shall not possess a firearm, destructive device,
 14 ammunition, or dangerous weapon;
 15               He shall submit to one drug test within 15 days of
 16 release from imprisonment and at least two periodic drug tests
 17 thereafter.
 18               In addition, the defendant shall comply with the
 19 following special conditions:
 20               First, he shall abstain from the use of alcohol;
 21               Second, he shall participate in a substance abuse
 22 treatment program and submit to periodic drug and alcohol
 23 testing at the direction and discretion of the probation officer
 24 during the term of supervision;
 25               Third, that he shall refrain from obstructing or
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   1 attempting to obstruct or tamper in any fashion with the
   2 efficiency and accuracy of any prohibited substance testing
   3 which is required as a condition of release;
   4              And, finally, that he submit his person, his
   5 residence, curtilage, office, or vehicle to a search upon the
   6 direction and discretion of the probation office. And, of
   7 course, the Court imposes the search condition by virtue of the
   8 nature of this particular offense, the violent nature of the
   9 offenses of conviction for Mr. Clark.
 10               It will further be ordered that the defendant pay to
 11 the United States a special assessment of $100 per felony count
 12 and $25 per misdemeanor count, for a total of $1,950, which will
 13 be due immediately.
 14               I will also impose a fine at the bottom of the range,
 15 inasmuch as the defendant has filed to provide the Court through
 16 the probation office with information that would allow the Court
 17 to make a determination that he can't pay a fine, and that will
 18 be a fine in the amount of $25,000.
 19               I'll also make a finding that determining the nature
 20 of the amount of the victims' losses would complicate or prolong
 21 the sentencing process to a degree that the need to provide
 22 restitution to any victim is outweighed by the burden on the
 23 sentencing process, and, therefore, under Title 18, Section
 24 3663(A)(C)(3)(B), restitution will not be ordered in the case.
 25 But the total amount that will be due from the defendant will be
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   1 the sum of $26,950.
   2              Following this proceeding, the defendant will be
   3 remanded back to the custody of the United States Marshal.
   4              I will also make a recommendation, based upon all of
   5 the facts that I've outlined and all the information that has
   6 been made available to me through the Bureau of Prisons and the
   7 defendant's conversations in his complaints to the Bureau of
   8 Prisons while he was at, I believe, FMC-Lexington, that he truly
   9 needs to be -- that the Court needs to recommend that he be
 10 placed in the administrative maximum unit, United States
 11 penitentiary located in Florence, Colorado. And I do note for
 12 the record that those materials that were faxed to the Court
 13 were also faxed to Mr. Hoskins, his attorney, in which he
 14 complains to various members, makes very crude remarks that I
 15 will not repeat here but should be considered by the Bureau of
 16 Prisons in their final placement.
 17               That will be the sentence of the Court. Is there any
 18 objection either to the sentence of the Court or any of these
 19 proceedings under United States v. Bostic?
 20               MR. WEST: Not for the United States, sir.
 21               THE COURT: Mr. Hoskins, any other objections other
 22 than those previously raised?
 23               MR. HOSKINS: No, Your Honor.
 24               THE COURT: All right. Thank you.
 25               Madam Clerk, if you would, please, advise the
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   1 defendant of his right of appeal.
   2              THE CLERK: Yes, Your Honor.
   3              You are notified by this Court that you have a right
   4 to appeal your case to the Sixth Circuit Court of Appeals, which
   5 on proper appeal will review your sentence and determine whether
   6 it was imposed in violation of applicable law.
   7              If you are unable to pay for the cost of the appeal,
   8 you have a right to apply for leave to appeal in forma pauperis,
   9 which means you may appeal without paying for it. The notice of
 10 appeal must be filed in this court within ten days from the date
 11 of entry of the judgment.
 12               If you are without the services of an attorney and
 13 desire to appeal, upon request, the Clerk of the Court shall
 14 prepare and file forthwith a notice of appeal on your behalf.
 15               If you do not have sufficient funds to employ counsel
 16 for appeal proceedings, upon proper application to the United
 17 States Court of Appeals for the Sixth Circuit, an attorney will
 18 be appointed to prosecute the appeal for you.
 19               You may request to be released on a reasonable bond
 20 pending the appeal.
 21               THE COURT: Thank you.
 22               Mr. Clark, you're being handed what was just read. If
 23 you would, please, review that with your attorney. You will
 24 need to sign the original once you have assured yourself that
 25 you do understand your right of appeal, and there's one copy
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   1 that you can keep for yourself.
   2              And, Mr. Hoskins, would you like for the Court to
   3 place the letter in the file to document the alleged threat?
   4              MR. HOSKINS: I would make that request, Your Honor.
   5              THE COURT: All right. I'll ask that that be placed
   6 in the file as well, Counsel.
   7              Any other matters that need to be taken up in the
   8 case?
   9              MR. WEST: No, Your Honor. Thank you.
 10               THE COURT: Thank you.
 11               Mr. Hoskins?
 12               MR. HOSKINS: Nothing further, Your Honor.
 13               THE COURT: The Court notes for the record,
 14 Mr. Hoskins, I believe you were appointed pursuant to the
 15 Criminal Justice Act to represent the defendant in this case.
 16 Again, the Court appreciates your service in this matter, as
 17 well as in other matters, and I'm sure that Mr. Clark does as
 18 well.
 19               And if there is nothing else to take up in this
 20 matter, we will be in recess until 10:00.
 21                                      (Proceedings concluded at (9:26)
 22
 23
 24
 25
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   1                            CERTIFICATE
   2        I, Cynthia A. Oakes, certify that the foregoing is a
   3 correct transcript from the record of proceedings in the
   4 above-entitled matter.
   5
   6 5/27/2009                                s/CYNTHIA A. OAKES
       DATE                                   CYNTHIA A. OAKES, RPR, RMR, CRR
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